                      Case: 23-1991 TRANSCRIPT
             Case 1:21-cv-00894-MAK  Document:265
                                     Document  6 PURCHASE
                                                   Page: 1 ORDER
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                                                            For Third Circuit Court of Appeals

      District Court    District of Delaware                                                    Court of Appeals Docket No. 23-1991
                                                                                                District Court Docket No.    21-894-MAK

  Short Case Title Patrick K. Donnelly v. ProPharma Group Topco, LLC
  Date Notice of Appeal Filed by Clerk of District Court 5/30/2023

Part 1. (To be completed by party responsible for ordering transcript)                             NOTE: A SEPRATE FORM IS TO BE TYPED FOR
                                                                                                   EACH COURT REPORTER IN THIS CASE.
A. Complete one of the following and serve ALL COPIES:
      TRANSCRIPT:
             None                              Unnecessary for appeal purposes.
             Already on file in the District Court Clerk's office.
             This is to order a transcript of the proceedings heard on the date listed below from                                         (Court Reporter)
      (Specify on lines below exact date of proceedings to be transcribed). If requesting only partial transcript of the proceedings, specify exactly
      what portion or what witness testimony is desired.




      If proceeding to be transcribed was a trial, also check any appropriate box below for special requests; otherwise, this material will NOT be
      included in the trial transcripts.

           Voir dire;                           Opening statement of              plaintiff          defendant

                                                Closing argument of               plaintiff          defendant
           Jury instructions                             Sentencing Hearings
           FAILURE TO SPECIFY IN ADEQUATE DETAIL THOSE PROCEEDINGS TO BE TRANSCRIBED, OR FAILURE TO
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           DISMISSAL OF THE APPEAL OR IMPOSITION OF SANCTIONS.
 B.    This is to certify that satisfactory financial arrangements have been completed with the court reporter for payment of the cost of the
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                                                         Criminal Justice Act (Attach copy of CJA form 24)
                                                          Motion for transcript has been submitted to District Court Judge
                                                         Private Funds
 Signature                                                                          Date             6/13/2023
               /s/ Jesse L. Noa
 Print Name Jesse L. Noa                                                          Counsel for      Patrick K. Donnelly
 Address       1313 N. Market St., 6th Floor, Wilmington, DE 19801                Telephone        302-984-6000


Part II.      COURT REPORTER ACKNOWLEDGEMENT (To be completed by the Court Reporter and forwarded to the Court of Appeals on the same
              day transcript order is received.)
       Date transcript order          Estimated completion date; if not within 30 days of date financial                     Estimated number
             received                 arrangements made, motion for extension to be made to Court of Appeals                      of pages


                                                        Arrangements for payment were made on
                                                         Arrangements for payment have not been made pursuant to FRAP 10(b)


                           Date                                      (Name of Court Reporter)                                     Telephone

Part III.     NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by court reporter on date of
              filing transcript in District Court and notification must be forwarded to Court of Appeals on the same date.)
              This is to certify that the transcript has been completed and filed with the District Court today.
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